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                                                                                                                                                                          E x hi bit A

 A O 4 4 0 ( R e v . 0 6 /1 2) S u m m o ns i n n C i vil A cti o n


                                                         U N I T E D S T A T E S DI S T RI C T C O U R T
                                                                                                  f or t h e




                                                                                                      )
                                                                                                      )

                                                         C; q/Jf                                          .
                                                                                                      )
 C Oi                 g ol o ~ vf                                                                     )
                                                                                                      )
                                          Pl ai ntiff(s)
                                                 V.
                                                                                                      )
                                                                                                      )
                                                                                                               Ci vil A cti o n N o.      &   ! 2 3- c v,           / O S ?'I- ~ ~- Gf:f s
                                                                                                      )


                                                   ~n~ Md
                                                                                                      )

   (! 6 1 $ c o h
                                                                                                      )
                                                                                                      )
                                         D ef e n d a nt(s)                                           )

                                                                             S U M M O N S I N A C M L A C TI O N

T o: ( D ef e n d a nt 's n a m e a n d a d d r e s s)

     ;I M- 1 1 1[: C orr e c/- 1 0 M J                                  $ p e; v v;,s o r / { C 5 !) .: E c o h                                          / O wvJ S- 0 n d
             I J. 1 5" .. 5 c e d <t- v                               :ff
           5/C ovoci/-
                  n-/.
                       o n 1 /.< S                             G Jt't 7
               A l a w~ it         { g o etl fil e d a g ai nst y o u.
                                         (J.


              Wit hi n 2 1 d a ys aft er s er vi c e of t his s u m m o ns o n y o u ( n ot c o u nti n g t h e d a y y o u r e c ei v e d it ) - o r 6 0 d a y s if y o u
ar e t h e U nit e d St at e s or a U nit e d St at es a g e n c y, or a n offi c er or e m pl o y e e of t h e U nit e d St at es d es cri b e d i n F e d. R. Ci v.
P. 1 2 ( a)( 2) or ( 3 ) - y o u m u st s er v e o n t h e pl ai ntiff a n a ns w er t o t h e att a c h e d c o m pl ai nt or a m oti o n u n d er R ul e 1 2 of
t h e F e d er al R ul es of Ci vil Pr o c e d ur e. T h e a ns w er or m oti o n m ust b e s er v e d o n t h e pl ai ntiff or pl ai ntiff s att or n e y,
w h o s e n a m e a n d a d dr e s s ar e:
                                                           coI               fJ _j
                                                                        j /' "
                                                                            f(.( J   oe,, v ;
                                                                                        /' )
                                                                                                L,// c,   t;
                                                           J ui         ;ti Or:;/ <.            jf
                                                         5-/ ockl o h) k s
                                                          l o u nl. · f _ oo / <. .5.                               .                            .                    .
          If y o u f ail t o r e s p o n d, J't { d g m erit 8 y tl ef a ult will b e e nt er e d a g a mst y o u f or t h e r eli ef d e m a n d e d m t h e c o m pl a mt.
                                                                                                                                                                                         .
Y o u als o m u st fil e y o ur a n s w er or m oti o n wit h t h e c o urt.



                                                                                                                    CLER K OF C O URT


D at e:          S'   / oq l'-~ < J; u"""'- - -                                                                                        ;,;;;;;.; of Cl er k or De p ut y Cl er k
    I
                               Case 6:23-cv-01081-JAR-GEB Document 5-1 Filed 05/22/23 Page 2 of 2



I       A O 4 4 0( R c v . 0 6/ 1 2) S u m m o ns i n n Ci v il Acti o n ( P n gc 2)

         Ci vil A cti o n N o .           ~•. ) 3 ~ C JI../ Of'/ ... ,:r A e ... € , ~
                                                                                   P R O O F O F S E R VI C E
                                      ( T his s e cti o n s h o ul d n ot be fil e d wit h t h e c o urt u nl ess r e q uir e d b y F e d. R. Civ. P. 4 (/))

                        T his s u m m o ns f or (n a             m e of i n div i d u al a n d title, ifa n y)     _. _j, 1-,c; AL!C~ CJ ~ B 2.- - -J772'...k:'..!t,J ~6('.ll..!!5 ~I' L Ny_, D'-' <.... _ _ _ _ _ _ _ _
          w as r e c ei v e d b y m e o n            ( d at e)     It:, M A' {            2. C 2-.'. = >

                         ii. I p ers o n all y        s er v e d t h e s u m m o ns o n t h e i n di vi d u al at            ( pl a c e)
                                                                                                                                      on   ( d at e)     /t:l Ml f { z _ o z 3                ; or
                       - - - - - - - - - - - - - - -- - - - -
                         0 I l eft t h e s u m m o ns at t h e i n di vi d u al's r esi d e n c e or us u al pl a c e of a b o d e wit h                                   ( n a m e)
                                                                                                              , a p ers o n of s uit a bl e a g e a n d dis cr eti o n w h o r esi d es t h er e,
                        -o n -( d -
                                  at e)
                                        - - - -- - - --     ---
                                                      , a n d m ail e d a c o p y                                    t o t h e i n di vi d u al's l ast k n o w n a d dr ess; or
                                           - - - - - --
                                                                                                                                                                                                           , w h o is
                          0 I s er v e d t h e s u m m o ns o n              ( n a m e of i n di vi d u al)

                           d esi g n at e d b y l a w t o a c c e pt s er vi c e of pr o c ess o n b e h alf of                    ( n a m e of or g a niz ati o n)

                        _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ on                                                                         ( d at e) _ _ _ _ _ _ _ _                          ;   or
                                                                                                                                                                                                                 ; or
                          0 I r et ur n e d t h e s u m m o ns u n e x e c ut e d b e c a us e
                                                                                                                   - - -- - -- - -- -- - - - - -- -
                          0 Ot h er        (s p e cif y) :




                          M y f e es ar e $                                       f or tr a v el a n d $                                    f or s er vi c es, f or a t ot al of $                     0. 0 0
                                                      -----                                                       - - ---

                         I d e cl ar e u n d er p e n alt y of p erj ur y t h at t his i nf or m ati o n is tr u e.




                                                                                                                                                       Ser vff.il ni £. ~ ~f me n
                                                                                                                                                                    D e p ul y 2 6 9

                                                                                                                                                  P ~ mi e d n a m e a n d titl e




                                                                                                                 f!f o 3             S: E C #t 5 7: ,,                                  sr C) C..,. c 7 ot V tt:. 5'
                                                                                                                                                        S e r v e r' s a d d r e s 1
